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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


 JAMES JULIAN,
           Plaintiff,

                 vs.                         Case No. 2:25-cv-02228

 SENIOR LIFE INSURANCE
 COMPANY,

           Defendant.


                                ENTRY OF APPEARANCE

        COME NOW Theodore A. Kardis and Wilson Elser Moskowitz Edelman & Dicker, LLP

enter their appearance on behalf of Defendant Senior Life Insurance Company, in the above-

styled case.

                                                   Respectfully submitted,


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                               CERTIFICATE OF SERVICE


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      I hereby certify that on this June 16, 2025, I served a true and accurate copy of the foregoing
document upon counsel of record via the Court’s electronic filing.

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